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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY                     )
 AND AS ADMINISTRATRIX OF THE                       )
 ESTATE OF TYRE DEANDRE NICHOLS,                    )
 DECEASED,                                          )
                                                    )
          Plaintiffs,                               )
                                                    )
 v.                                                 )    CASE NO. 2:23-CV-02224
                                                    )    JURY DEMAND
 THE CITY OF MEMPHIS, A                             )
 MUNICIPALITY; CHIEF CERELYN DAVIS,                 )
 IN HER OFFICIAL CAPACITY; EMMITT                   )
 MARTIN III, IN HIS INDIVIDUAL                      )
 CAPACITY; DEMETRIUS HALEY, IN HIS                  )
 INDIVIDUAL CAPACITY; JUSTIN SMITH,                 )
 IN HIS INDIVIDUAL CAPACITY;                        )
 DESMOND MILLS, JR. IN HIS INDIVIDUAL               )
 CAPACITY; TADARRIUS BEAN, IN HIS                   )
 INDIVIDUAL CAPACITY; PRESTON                       )
 HEMPHILL, IN HIS INDIVIDUAL                        )
 CAPACITY; ROBERT LONG, IN HIS                      )
 INDIVIDUAL CAPACITY; JAMICHAEL                     )
 SANDRIDGE, IN HIS INDIVIDUAL                       )
 CAPACITY; MICHELLE WHITAKER, IN                    )
 HER INDIVIDUAL CAPACITY; DEWAYNE                   )
 SMITH, IN HIS INDIVIDUAL CAPACITY                  )
 AND AS AGENT OF THE CITY OF                        )
 MEMPHIS,
                                                    )
          Defendants.                               )


DEFENDANT CITY OF MEMPHIS’S MOTION FOR EXTENSION OF TIME TO FILE
 SUPPLEMENTAL RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                      PROTECTIVE ORDER


        Defendant City of Memphis (the “City”), by and through its undersigned counsel and

pursuant to Local Rule 7.2, moves this Court for an Order allowing the City additional time to


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file its Supplemental Response in opposition to Plaintiff’s Motion for Protective Order. (See ECF

No. 211.) In support, the City states the following:

        1.       On November 15, 2024, the City filed its Unopposed Motion for Leave to File

Supplemental Response in Opposition to Plaintiff’s Motion for Protective Order. (ECF No. 230.)

        2.       On November 15, 2024, this Court entered an Order granting the City’s

Unopposed Motion for Leave to File Supplemental Response in Opposition to Plaintiff’s Motion

for Protective Order. (ECF No. 231.)

        3.       The Court’s Order granting the City’s Unopposed Motion for Leave to File

Supplemental Response in Opposition to Plaintiff’s Motion for Protective Order stated, “[t]he

City has up to and including November 22, 2024, to file its Supplemental Response.” (ECF No.

231.) Thus, the City’s current deadline for filing its Supplemental Response in opposition to

Plaintiff’s Motion for Protective Order is November 22, 2024.

        4.       The City requested leave to file a Supplemental Response in opposition to

Plaintiff’s Motion for Protective Order due to facts and information learned during various

depositions taken by the City on November 11–13, 2024. (ECF No. 230.) As such, the City will

rely, in part, on testimony from those depositions in making its additional arguments in

opposition to Plaintiff’s Motion for Protective Order.

        5.       On November 20, 2024, Plaintiff advised they will designate portions of the

deposition transcripts relevant to the City’s Supplemental Response in opposition to Plaintiff’s

Motion for Protective Order as “CONFIDENTIAL,” thus requiring the City’s Motion to be filed

under seal. Based on the November 20, 2024 consultation with Plaintiff’s counsel, the City will

likely oppose Plaintiff’s confidentiality designations.

        6.       The City does not believe its Supplemental Response should be filed under seal.


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        7.       The City further expects that Court intervention will be necessary to determine

what, if any, portions of these deposition transcripts may be appropriately deemed

“CONFIDENTIAL.” In an effort to allow the Court to preview the propriety of any

confidentiality designations, the City is submitting one of the relevant deposition transcripts as

an Exhibit to this Motion under seal. The deposition transcript, submitted as Exhibit 1, is filed

separately under seal.1

        8.       Accordingly, the City requests that the Court allow it seven days from the time the

confidentiality issue(s) are resolved by the parties or by the Court to file its Supplemental

Response in opposition to Plaintiff’s Motion for Protective Order.

        DATED: November 21, 2024.

                                                      Respectfully submitted,

                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, P.C.

                                                      s/ Bruce McMullen
                                                      Bruce McMullen (#18126)
                                                      Jennie Vee Silk (#35319)
                                                      Freeman B. Foster (#23265)
                                                      165 Madison Avenue, Suite 2000
                                                      Memphis, Tennessee 38103
                                                      Telephone: (901) 526-2000
                                                      bmcmullen@bakerdonelson.com
                                                      jsilk@bakerdonelson.com
                                                      ffoster@bakerdonelson.com


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  The City is filing the deposition transcript under seal to comply with the Court’s instruction on
November 18, 2024. In that communication, the Court indicated that it sealed the City’s Motion
for Leave to File Supplemental Response to Plaintiff’s Motion for Protective Order (ECF No.
230), as “an interim measure and will consider the merits of the sealing issue once the City has
filed a response to Plaintiff’s Motion to Seal (ECF Nos. 234 & 235).” Moreover, the Court
instructed “[w]hen responding to the Motion to Seal, the City should redact and/or file under seal
any arguments that directly reference the identifying information that is at issue in the Motion to
Seal.” Thus, the City is filing the deposition transcript (Exhibit 1) under seal.

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                                                       Attorneys for Defendant City of Memphis,
                                                       Chief Cerelyn Davis in her Official
                                                       Capacity, and Dewayne Smith as Agent of
                                                       the City of Memphis


                               CERTIFICATE OF CONSULTATION

        I, Bruce McMullen, certify that on November 20 and 21, 2024, counsel for the City
conferred with counsel for Plaintiff, Joshua Levin, Sarah Raisch, and Steve Weil, via telephone
conference and email regarding the request for an extension of time. At the time of this filing,
Plaintiff has not agreed to the specific relief sought in this Motion. Plaintiff indicated that they
would agree to the extension of the deadline if the City agreed to an omnibus briefing schedule
related to multiple pending and forthcoming motions. The Plaintiff and City were not able to
agree by the time of the filing of the Motion, and the City is, therefore, representing that this
Motion is opposed by Plaintiff.
        The other parties to the litigation were asked via email on November 21, 2024, their
position on the relief sought in this Motion. A chart detailing the parties’ responses is below:

                       Party           Responding Counsel             Opposition?
                 Plaintiff         Joshua Levin                      Yes
                 Long              No response
                 Hemphill          Betsy McKinney                    No
                 D. Smith          Betsy McKinney                    No
                 Whitaker          No response
                 Sandridge         No response
                 Haley             No response
                 Bean              No response
                 Martin III        No response
                 Mills, Jr.        No response
                 J. Smith          No response



                                                       s/ Bruce McMullen
                                                       Bruce McMullen




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been served upon all
counsel of record and the Guardian Ad Litem via the Court’s electronic filing system on
November 21, 2024.
                                                    s/ Bruce McMullen
                                                    Bruce McMullen




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